Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 1 of 23 Page ID #:522




      “EXHIBIT ”
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 2 of 23 Page ID #:523
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 3 of 23 Page ID #:524
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 4 of 23 Page ID #:525
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 5 of 23 Page ID #:526
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 6 of 23 Page ID #:527
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 7 of 23 Page ID #:528
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 8 of 23 Page ID #:529
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 9 of 23 Page ID #:530
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 10 of 23 Page ID #:531
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 11 of 23 Page ID #:532
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 12 of 23 Page ID #:533
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 13 of 23 Page ID #:534
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 14 of 23 Page ID #:535
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 15 of 23 Page ID #:536
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 16 of 23 Page ID #:537
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 17 of 23 Page ID #:538
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 18 of 23 Page ID #:539
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 19 of 23 Page ID #:540
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 20 of 23 Page ID #:541
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 21 of 23 Page ID #:542
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 22 of 23 Page ID #:543
Case 2:22-cv-03188-DMG-SK Document 49-2 Filed 11/22/23 Page 23 of 23 Page ID #:544
